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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

IN RE: TESTOSTERONE                                            )    MDL No. 2545
REPLACEMENT THERAPY                                            )
PRODUCTS LIABILITY LITIGATION                                  )    Case No. 14 C 1748
---------------------------------------------------------------)
                                                               )
This document relates to                                       )
Guffey v. AbbVie, Inc., No. 16 C 4723                          )

                           CASE MANAGEMENT ORDER NO. 149
                   (Order on Plaintiff Carlos Guffey's Motion to Reinstate
                          in Guffey v. AbbVie, Inc., No. 16 C 4723)

MATTHEW F. KENNELLY, District Judge:

        On December 7, 2017, Plaintiff Carlos Guffey voluntarily stipulated to the
dismissal of his entire action with prejudice [Case No. 16 C 4723, Dkt. No. 7]. The
Court dismissed Mr. Guffey's case with prejudice on 4/26/2018 [Case No. 16 C 4723,
Dkt. No. 8]. Later, on or around May 15, 2018, Mr. Guffey wrote a letter to the Court
[Case No. 14 C 1748, Dkt. No. 2879; Case No. 16 C 4723, Dkt. No. 10]. The letter was
docketed on September 21, 2018. In the letter, Mr. Guffey explained the circumstances
of the stipulated dismissal. Specifically, Mr. Guffey stated that a representative from his
counsel's law firm had told him that he "would not have a case" because he had
undergone a "PFO closure," which the Court understands to be a form of heart surgery.
According to Mr. Guffey, he "did not agree" but "signed all letters for dismissal of [his]
case." Mr. Guffey then stated, "I would, however, like to have my case heard." The
Court construes Mr. Guffey's letter as a motion to reinstate his case. The Court denies
Mr. Guffey's motion [Case No. 14 C 1748, Dkt. No. 2879; Case No. 16 C 4723, Dkt. No.
10] because the circumstances show that he agreed to dismiss his case and then
changed his mind. Changing one's mind is not an appropriate basis for reinstating a
case. Mr. Guffey's counsel of record are directed to mail him a copy of this order by
April 5, 2019 and are to certify (on the docket of Case No. 16 C 4723) that they have
done so.


                                                               ________________________________
                                                                    MATTHEW F. KENNELLY
                                                                    United States District Judge

Date: March 29, 2019
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